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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION


NETLIST, INC.                                   )
                                                )
              Plaintiff,                        )
                                                )
      v.                                        )
                                                )      Civil Action No. _________
MICRON TECHNOLOGY, INC.,                        )
MICRON SEMICONDUCTOR                            )      JURY TRIAL DEMANDED
PRODUCTS, INC., MICRON                          )
TECHNOLOGY TEXAS LLC,                           )
                                                )
              Defendants.                       )
                                                )
                                                )
                                                )
                                                )
                                                )
                                          COMPLAINT


         1.    Plaintiff Netlist, Inc. (“Netlist”), by its undersigned counsel, for its Complaint

against defendants Micron Technology Inc. (“Micron Technology”), Micron Semiconductor

Products, Inc. (“Micron Semiconductor”), and Micron Technology Texas, LLC (“Micron Texas”)

(collectively, “Micron” or “Defendants”), states as follows, with knowledge as to its own acts, and

on information and belief as to the acts of others:

         2.    This action involves Netlist’s U.S. Patent No. 7,619,912 (“the ’912 patent,” the

“Patent-in-Suit” a copy of which is attached hereto as Exhibit 1).

I.       THE PARTIES

         3.    Plaintiff Netlist is a corporation organized and existing under the laws of the State

of Delaware, having a principal place of business at 111 Academy Drive, Suite 100, Irvine, CA

92617.
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       4.      On information and belief, Micron makes dynamic random-access memory

(“DRAM”), NAND Flash, and NOR Flash memory, and other memory products in semiconductor

fabrication plants in the United States and other countries throughout the world. On information

and belief, Micron sells its products to customers, including customers in this District, in the

computer, networking and storage, consumer electronics, solid-state drives and mobile

telecommunications markets.

       5.      On information and belief, Micron Technology is a corporation organized and

existing under the laws of Delaware. On information and belief, Micron Technology has a regular

and established place of business at 805 Central Expressway South, Suite 100, Allen, Texas 75013.

On information and belief, Micron Technology is registered to do business in the State of Texas,

and can be served through its registered agent, The Corporation Service Company, 211 E. 7th

Street, Suite 620, Austin, Texas 78701-3218.

       6.      On information and belief, Micron Semiconductor is a corporation organized and

existing under the laws of Idaho. On information and belief, Micron Semiconductor has a regular

and established place of business at 805 Central Expressway South, Suite 100, Allen, Texas 75013.

On information and belief, Micron Semiconductor is registered with the Texas Secretary of State

to do business in Texas. On information and belief, Micron Semiconductor can be served through

its registered agent, The Corporation Service Company, 211 E. 7th Street, Suite 620, Austin, Texas

78701-3218.

       7.      On information and belief, Micron Texas is a corporation organized and existing

under the laws of Idaho. On information and belief, Micron Texas has a regular and established

place of business at 805 Central Expressway South, Suite 100, Allen, Texas 75013.             On

information and belief, Micron Texas also has a regular and established place of business at 950

West Bethany Drive, Suite 120, Allen, Texas 75013-3837. On information and belief, Micron



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Texas is registered with the Texas Secretary of State to do business in Texas. On information and

belief, Micron Texas can be served through its registered agent, The Corporation Service

Company, 211 E. 7th Street, Suite 620, Austin, Texas, 78701-3218.

       8.       On information and belief, Micron Semiconductor and Micron Texas are wholly

owned subsidiaries of Micron Technology. On information and belief, Micron Technology does

not separately report revenue from Micron Semiconductor or Micron Texas in its filings to the

Securities Exchange Commission, but rather reports combined revenue from its various products

and subsidiaries.

       9.       On information and belief, Defendants have semiconductor fabrication plants in the

United States and other countries throughout the world and manufacture memory products such as

DRAM, NAND Flash, and NOR Flash at those plants. On information and belief, Defendants also

use, sell, and offer for sale in the United States, import into the United States and/or export from

the United States memory products, including DDR4 load reduced dual in-line memory modules

(“LRDIMMs”), and DDR4 registered DIMMs (“RDIMMs”).                     On information and belief,

Defendants have at least used, sold, or offered to sell products and services, including the Accused

Instrumentalities, in this judicial district, e.g., through sales and distribution channels managed by

Micron Texas.

       10.      On information and belief, Defendants place, have placed, and contributed to

placing Accused Instrumentalities into the stream of commerce via an established distribution

channel knowing or understanding that such products would be sold and used in the United States,

including in this judicial district. On information and belief, Defendants have also derived

substantial revenues from infringing acts in this judicial district, including from the sale and use

of the Accused Instrumentalities.




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II.    JURISDICTION AND VENUE

       11.     The Court has subject matter jurisdiction under 28 U.S.C. § 1338, in that this action

arises under federal statute, the patent laws of the United States (35 U.S.C. §§ 1, et seq.).

       12.     Each Defendant is subject to this Court’s personal jurisdiction consistent with the

principles of due process and/or the Texas Long Arm Statute.

       13.     Personal jurisdiction exists generally over the Defendants because each Defendant

has sufficient minimum contacts and/or has engaged in continuous and systematic activities in the

forum as a result of business conducted within the State of Texas and the Eastern District of Texas.

Personal jurisdiction also exists over each Defendant because each, directly or through

subsidiaries, makes, uses, sells, offers for sale, imports, advertises, makes available, and/or

markets products within the State of Texas and the Eastern District of Texas that infringe one or

more claims of the Patents-in-Suit. Further, on information and belief, Defendants have placed or

contributed to placing infringing products into the stream of commerce knowing or understanding

that such products would be sold and used in the United States, including in this District.

       14.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b) and (c) and/or

1400(b) because Defendants (1) have committed and continue to commit acts of patent

infringement in this District by, among other things, directly and/or indirectly making, using,

selling, offering to sell, or importing products that infringe one or more claims of the Patents-in-

Suit, and (2) have done and continue to do business in this District by maintaining regular and

established places of business, including at least at 805 Central Expressway South, Suite 100,

Allen, Texas 75013.




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III.   FACTUAL ALLEGATIONS

                                          Background

       15.     Since its founding in 2000, Netlist has been a leading innovator in high-

performance memory module technologies. Netlist designs and manufactures a wide variety of

high-performance products for the cloud computing, virtualization and high-performance

computing markets. Netlist’s technology enables users to derive useful information from vast

amounts of data in a shorter period of time. These capabilities will become increasingly valuable

as the volume of data continues to dramatically increase.

       16.     Netlist has a long history of being the first to market with disruptive new products

such as the first LRDIMM, HyperCloud®, based on Netlist’s distributed buffer architecture later

adopted by the industry for DDR4 LRDIMM. Netlist was also the first to bring NAND flash to

the memory channel with its NVvault® NVDIMM. These innovative products built on Netlist’s

early pioneering work in areas such as embedding passives into printed circuit boards to free up

board real estate, doubling densities via quad-rank double data rate (“DDR”) technology, and other

off-chip technology advances that result in improved performance and lower costs compared to

conventional memory.

       17.     In many commercial products, a memory module is a printed circuit board that

contains, among other components, a plurality of individual memory devices (such as DRAMs).

The memory devices are typically arranged in “ranks,” which are accessible by a processor or

memory controller of the host system. A memory module is typically installed into a memory slot

on a computer motherboard.

       18.     Memory modules are designed for, among other things, use in servers such as those

supporting cloud-based computing and other data-intensive applications (e.g. scaled data

manipulation and aggregation, on-demand tracking, AI-based image analysis, weather patterning,



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etc.). The structure, function, and operation of memory modules is defined, specified, and

standardized by the JEDEC Solid State Technology Association (“JEDEC”), the standard-setting

body for the microelectronics industry. Memory modules are typically characterized by, among

other things, the generation of DRAM on the module (e.g., DDR4, DDR3) and the type of module

(e.g., RDIMM, LRDIMM).

                                    The Asserted ’912 Patent

       19.     The ’912 patent is entitled “Memory Module Decoder.” Netlist owns the ’912

patent by assignment from the listed inventors Jayesh R. Bhakta and Jeffrey C. Solomon. The

’912 patent was filed as Application No. 11/862,931 on September 27, 2007, issued as a patent on

November 17, 2009, and claims priority to three provisional applications: Nos. 60/588,244 filed

on July 15, 2004 60/550,668 filed on March 5, 2004, and 60/575,595 filed on May 28, 2004. The

’912 patent also claims priority to application, filed July 1, 2005, now U.S. Patent No. 7,289,386,

which is a continuation-in-part of application No. 11/075,395, filed March 7, 2005, now U.S.

Patent No. 7,286,436.

       20.     Micron has had actual knowledge of the ’912 Patent no later than April 28, 2021

via Exhibit A to Netlist’s April 28, 2021 letter to Micron, and as of the filing of this Complaint.

       21.     The ’912 patent relates to memory module technology, and more specifically, to a

concept called rank multiplication. A memory module is a device that contains individual memory

devices arranged in “ranks” on a printed circuit board. At the time of the invention, most computer

systems supported accessing only one or two ranks, limiting the number of ranks that can be added

per memory module. Ex. 1, 1:20-2:42.

       22.     The ’912 patent teaches that one way to upgrade the memory capacity of a memory

module is to use on-module logic to present a memory module with, e.g., 2n physical ranks of

memory devices, as a module with n (virtual) ranks to the computer system. Id., 6:64-7:19. In



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this way, “even though the memory module 10 actually has the first number of [physical] ranks of

memory devices 30, the memory module 10 simulates a virtual memory module by operating as

having the second number of [logical or virtual] ranks of memory devices 30.” Id., 7:9-13. This

technique is commonly referred to as “rank multiplication.”

       23.     Rank multiplication allows a designer to expand the number of ranks and hence the

total memory capacity on a memory module. It also enables them to construct a memory module

of a given capacity using lower density memory devices that often cost less. Id., 4:42-58, 22:5-

14. For example, for the same 1 GB memory capacity, it could be more cost-effective to use thirty-

six 256-Mb DRAMs arranged in 4 ranks than eighteen 512-Mb DRAMs arranged in two ranks.

Id., 4:42-58, 4:59-5:5.

       24.     Figure 1A illustrates an example of a memory module with rank multiplication

capability. The memory module has a register 60 and a logic element 40.




       25.     The logic element receives a set of input control signals from the computer system

that include chip-select signals CS0-CS1, address signal An+ 1, and bank address signals BA0-BAm.


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Id., 7:35-53; Fig. 1A. From the computer system’s perspective, it is connected to only two ranks

of memory devices, to be selected by CS0 or CS1, even though the memory devices are arranged

in four physical ranks. Id., 6:55-7:19. In response to the received input control signals, the logic

element on the memory module generates a set of output control signals, corresponding to the four

physical ranks of the memory devices. Id., 6:61-63. The logic element 40 also receives command

signals (such as read/write) from the computer system. Id., 6:55-61, 7:46-53. In response to the

command signal and the input signals, the logic element transmits the command signal to the

memory devices on the selected rank of the memory module. Id. In some embodiments, command

signals are transmitted to only a single memory device on a multi-device rank at a time.

                                 Micron’s Infringing Activities

       26.     Defendants are worldwide semiconductor solution providers that primarily

manufacture semiconductor memory products such as DRAM, DIMMs, and MCP (Multi-Chip

Package), such as HBM. Defendants develop, manufacture, sell, offer to sell, import into the

United States and export from the United States memory components and memory modules

(including semi-finished ones) designed for, among other things, use in servers such as those

supporting cloud-based computing and other data-intensive applications as well as for use in

consumer end products.

       27.     Netlist contacted Micron by letter dated April 28, 2021 requesting that it take a

license; Micron has declined to take a license.

DDR4 Memory Modules

       28.     The accused DDR4 products include, without limitation, any Micron DDR4

LRDIMM and RDIMM products made in, sold in, offered for sale in, used in, exported from and/or

imported into the United States by Micron. By way of non-limiting example, the accused DDR4

LRDIMM and RDIMM products include Micron products advertised on Micron’s website that



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employ per DRAM addressability (“PDA”) (the “Accused Products”). The accused DDR4

LRDIMM and RDIMM products include all branded, alternatively branded and non-branded

products by Micron that employ PDA.

IV.     FIRST CLAIM FOR RELIEF – ’912 PATENT

        29.      Netlist re-alleges and incorporates by reference the allegations of the preceding

paragraphs of this Complaint as if fully set forth herein.

        30.     On information and belief, Micron directly infringed and is currently infringing at

least one claim of the ’912 patent by, among other things, making, using, selling, offering to sell,

and/or importing within this District and elsewhere in the United States, without authority, the

Accused Products and other products with materially the same structures in relevant parts. An

exemplary claim chart comparing claim 16 of the ’912 patent to exemplary DDR4 LRDIMM and

RDIMM Accused Products is attached hereto as Exhibit 2. As shown in Exhibit 2, accused DDR4

LRDIMMs and DDR4 RDIMMs, and other products with materially the same structures in

relevant parts, infringe at least claim 16 of the ’912 patent.

V.      DEMAND FOR JURY TRIAL

        31.     Pursuant to Federal Rule of Civil Procedure 38(b), Netlist hereby demands a trial

by jury on all issues triable to a jury.

VI.     PRAYER FOR RELIEF

                WHEREFORE, Netlist respectfully requests that this Court enter judgment in its

favor ordering, finding, declaring, and/or awarding Netlist relief as follows:

        A.      that Micron infringes the Patents-in-Suit;

        B.      all equitable relief the Court deems just and proper as a result of Micron’s

infringement;




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       C.     an award of damages resulting from Micron’s acts of infringement in accordance

with 35 U.S.C. § 284;

       D.     enhanced damages pursuant to 35 U.S.C. § 284;

       E.     that Micron’s infringement of the ’912 patent is willful;

       F.     that this is an exceptional case and awarding Netlist its reasonable attorneys’ fees

pursuant to 35 U.S.C. § 285;

       G.     an accounting for acts of infringement and supplemental damages, without

limitation, pre-judgment and post-judgment interest; and

       H.     such other equitable relief which may be requested and to which Netlist is entitled.




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Dated: August 1, 2022                 Respectfully submitted,

                                      /s/ Jason Sheasby


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